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Apra 6, 2018

Hon. Deborah A. Batts, U.S.D.J.
United States District Court
Southern District of New York
United States Courthouse

500 Pearl Street, Roorn 2510

New York, New York 10007-1312

Re: Bernstein, et al. v. O’Reilly, et al.
Civil Action No.: cv-I 7-9483

Dear Judge Batts,

l write in response to the correspondence filed yesterday by defendant Fox News.
Plaintiffs object to defendant’s request that the Court allow it to start over with new motions
because plaintiffs filed a cross motion to amend the Compiaint. lt is not unusual for a cross
motion to amend to be filed in response to a motion to dismiss on the pleadings and such cross
motion certainly does not “moot” the pending motions.

There is no good reason for defendants to set the restart button and file completely new
motions In fact, defendant does not even assert one. Plaintiffs have responded in detail to the
motions already filed. Defendant can certainly address the amended complaint m their Reply
papers. We request that the Court hear the filed motions.

Finally, plaintiffs have repeatedly requested that counsel provide plaintiff Mackris and
the Court with her complete Settlement Agreement including the portion incorporated and
referred to at Paragraph 2. (Mullin Dec. Ex. B). We objected to counsel excluding this part of
the Settlement Agreement from the in camera submission to the Court. (Mullin letter 3/28/18).
Ms. Mackris does not have this document Her prior lawyer has refused to provide it. lt is part of
the Agreement that Your Honor has already ruled is a judicial document We again request that it
be provided to us and the Court. it is relevant to our arguments in opposition to defendants’
motions to dismiss.

CaS€ 1217-CV-09483-DAB

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/,Re§§ctfully submitted,

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